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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


CHARLES M. MURRELL III,

                        Plaintiff,
                                                         Civil Action No. 1:23-cv-11802
        v.

 PATRIOT FRONT, THOMAS ROUSSEAU,
 AND JOHN DOES 1-99,

                        Defendants.



              DECLARATION OF CAROLINE HOLLIDAY IN SUPPORT OF
                 PLAINTIFF’S MOTION FOR DEFAULT JUDGMENT

       In support of Plaintiff Charles M. Murrell III’s motion for default judgement, I, Caroline

Holliday, declare pursuant to 28 U.S.C. § 1746 as follows:

       1. I am an attorney at the law firm of Foley Hoag LLP, 155 Seaport Boulevard, Boston,

Massachusetts and a member in good standing of the bar of the Commonwealth of

Massachusetts. I am counsel for Mr. Murrell in the above-captioned proceeding. I make this

declaration based upon my personal knowledge.

       2. In support of Mr. Murrell’s motion for default judgment, and in anticipation of the

evidentiary hearing scheduled for October 2 and 3, 2024 regarding the damages that Mr. Murrell

has suffered from the events giving rise to this action, I hereby attach Exhibits A through O,

described below.

       3. Attached hereto as Exhibit A is a true and accurate copy of the Complaint filed in the

above-captioned proceeding at ECF No. 1.

       4. Attached hereto as Exhibit B is a true and accurate copy of an image of Defendants’

July 2, 2022 attack on Mr. Murrell, which appears in a July 2, 2022 Boston Herald article,
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available at https://www.bostonherald.com/2022/07/02/white-supremacist-group-the-patriot-

front-reportedly-marching-through-boston/, as well as at Paragraph 113 of the Complaint.

       5. Attached hereto as Exhibit C is a true and accurate copy of an image of Defendants’

July 2, 2022 attack on Mr. Murrell, which appears in a July 23, 2022 Boston Globe article,

available at https://www.bostonglobe.com/2022/07/23/metro/far-right-patriot-front-is-getting-

bigger-more-visible-new-england/, as well as at Paragraph 113 of the Complaint.

       6. Attached hereto as Exhibit D is a true and accurate copy of an image of Mr. Murrell

speaking at a press conference two days after the July 2, 2022 attack, with the injuries he

sustained to his hand from the attack bandaged, which appears in a July 4, 2022 Boston Herald

article, available at https://www.bostonherald.com/2022/07/04/black-leaders-man-injured-by-

patriot-front-mob-speak-out-against-hate/, as well as at Paragraph 117 of the Complaint.

       7. Attached hereto as Exhibit E is a true and accurate copy of the July 2, 2022 Incident

Report by Officer Jason Turcotte of the Boston Police Department (“BPD”) regarding

Defendants’ attack on Mr. Murrell. This Report was produced to Mr. Murrell by the BPD in

response to his Massachusetts Public Records Request. The Report has been partially redacted

to protect Mr. Murrell’s personal information.

       8. Attached hereto as Exhibit F is a true and accurate copy of the July 9, 2022 Report by

Detective Lakenya Webster of the BPD’s Civil Rights Unit regarding Defendants’ attack on Mr.

Murrell. This Report was produced to Mr. Murrell by the BPD in response to his Massachusetts

Public Records Request. The Report has been partially redacted to protect Mr. Murrell’s

personal information.

       9. Attached hereto as Exhibit G is a true and accurate copy of excerpts of the July 2,

2022 medical records pertaining to Mr. Murrell’s treatment at Tufts Medical Center Emergency



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Department following the attack. These medical records were produced by Tufts Medical Center

to Mr. Murrell’s counsel in response to an Authorization for Release of Protected Health

Information signed by Mr. Murrell. The excerpts have been partially redacted to protect Mr.

Murrell’s personal information.

       10. Attached hereto as Exhibit H is a placeholder for a true and accurate copy of raw

video footage of Defendants’ July 2, 2022 attack on Mr. Murrell, captured by a nearby traffic

camera. This footage was produced to Mr. Murrell by the BPD in response to his Massachusetts

Public Records Request via a file entitled “173_Dartmouth_Stuart-2022-07-

02_13h20min35s000ms.” Counsel for Mr. Murrell will provide a copy of the footage to the

Court via a hard drive or other suitable medium as directed by the Clerk.

       11. Attached hereto as Exhibit I is a placeholder for a true and accurate copy of additional

raw video footage of Defendants’ July 2, 2022 attack on Mr. Murrell, captured by a camera

outside a nearby Starbucks. This footage was produced to Mr. Murrell by the BPD in response

to his Massachusetts Public Records Request via a file entitled “Exterior_-

_Dartmouth_St._20220702_132000.” Counsel for Mr. Murrell will provide a copy of the

footage to the Court via a hard drive or other suitable medium as directed by the Clerk.

       12. Attached hereto as Exhibit J is a placeholder for a true and accurate copy of raw video

footage of Defendants’ July 2, 2022 attack on Mr. Murrell and the immediate aftermath captured

by a BPD officer’s body camera. This footage was produced to Mr. Murrell by the BPD in

response to his Massachusetts Public Records Request via a file entitled

“_Extraction_1.1__Extraction_1.1_Assault_185_Dartmouth_St_Protest.” Counsel for Mr.

Murrell will provide a copy of the footage to the Court via a hard drive or other suitable medium

as directed by the Clerk.



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       13. Attached hereto as Exhibit K is a placeholder for a true and accurate copy of an

unedited one-minute excerpt of raw video footage capturing Emergency Medical Services’

assessment of Mr. Murrell in an ambulance immediately following the July 2, 2022 attack,

captured by a BPD officer’s body camera. Exhibit K excerpts minutes 6:10-7:12 from an

approximately 21-minute-long video that was produced to Mr. Murrell by the BPD in response

to his Massachusetts Public Records Request via a file entitled

“_Extraction_1.1__Extraction_1.1_Assault_And_Battery.” Counsel for Mr. Murrell will provide

a copy of the excerpt to the Court via a hard drive or other suitable medium as directed by the

Clerk. The entire video can be provided upon the Court’s request.

       14. Attached hereto as Exhibit L is a placeholder for a true and accurate copy of video

footage entitled “Drilling Instruction” and dated October 2021 depicting Defendants’ physical

training, which involves various marching and formation exercises and the use of shields. This

video was created by Patriot Front, made publicly available online by the media outlet Unicorn

Riot, and is described in Paragraphs 74-75 of the Complaint. Counsel for Mr. Murrell will

provide a copy of the video to the Court via a hard drive or other suitable medium as directed by

the Clerk.

       15. Attached hereto as Exhibit M is a placeholder for a true and accurate copy of

additional video footage capturing Defendants’ physical training, which involves various

marching and formation exercises and the use of shields. This video was made publicly

available online by the media outlet Unicorn Riot and is described in Paragraph 78 of the

Complaint. Counsel for Mr. Murrell will provide a copy of the video to the Court via a hard

drive or other suitable medium as directed by the Clerk.




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       16. Attached hereto as Exhibit N is a placeholder for a true and accurate copy of

additional video footage capturing Defendants’ physical training, which involves various

marching and formation exercises and the use of shields. This video was made publicly

available online by the media outlet Unicorn Riot and is described in Paragraph 80 of the

Complaint. Counsel for Mr. Murrell will provide a copy of the video to the Court via a hard

drive or other suitable medium as directed by the Clerk.

       17. Attached hereto as Exhibit O is a placeholder for a true and accurate copy of a self-

promotional video uploaded on Patriot Front’s publicly available website, featuring Defendants’

July 2, 2022 march and attack on Mr. Murrell. The video is referenced in Paragraph 120 of the

Complaint. Counsel for Mr. Murrell will provide a copy of the video to the Court via a hard

drive or other suitable medium as directed by the Clerk.



       I declare under penalty of perjury that the foregoing is true and correct. Executed on

August 21, 2024.

                                                     /s/ Caroline Holliday
                                                     Caroline Holliday




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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 21st day of August, 2024, I caused a copy of the above

document to be electronically filed using the CM/ECF system. Plaintiff will serve this Attorney

Declaration on Defendants via the alternative means of service authorized by this Court's

November 7, 2023 Order (ECF No. 20).

                                                    /s/ Caroline Holliday
                                                    Caroline Holliday




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